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  IN THE CIRCUIT/CQUNTY CoURT OF THE THIRTEENTH
      _IUDICIAL CIRCUIT OF THE STATE OF FLQRIDA,
          IN AND FOR H1LLsBoRoUGH COUNTY
                                 (iliuil Eiuizinn
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   BOUTIQUE APARTMENTS LLC                                              O     'U
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               PLAINTIFF,                                                              3       ,¢

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                    V.
                                                                        --I   §
                                                                              m      pg
   BLAKE WARNER                                                               of     --4
                                              CASE No   2018-CC-22377
               DEFENDANT,



                                              D1v1s1oN M


   BLAKE WARNER
                                              JURY TRIAL DEMANDED
               THIRD PARTY PLAINTIFF,

                    V.

   _IEss1E DARKES
               THIRD PARTY DEFENDANT,




  DEFENDANT ANSWER TO CQMPLAINT, AFFIRMATIVE DEFENSES,
       COUNTERCLAIMS, AND THIRD PARTY COMPLAINT




                                        (i)
                                                    EXHIBIT A
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 II   Failure to State a Cause of Action Upon Which Relief Can Be Granted .


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 IV   First Amendment

 V    Castle Defense


 VI   Self Defense


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IX    Unclean Hands .


 X    Selective Enforcement


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        II   OTHER RELIEF

  46. And such other relief as the Court may deem appropriate.


                                       CoNcLUs I ON

 Wherefore Third Party Plaintiff demands judgment against Third Party Defendant




    f-27~@                                               g/
 Date                                           Signature

                                                Blake Warner, Pro Se

                                                3012 W De Leon St, Apt 23

                                                Tampa, FL 33609



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                                CERTIFICATE OF SERVICE
   I certify a copy of the attached document has been furnished to:




   Name of            Plaintiff, \LPlaintiff's Attorney or    Defendant   (check one)

     307          S         4f clc>4ff\3        Pouf)     W
   Address
      T                    FL 44604
   City, State and zip code



   By (check one)                         hand delivery   J    Mail        Fax      J


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   Signature of person filing documents

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   City, State and zip code

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   Fax and or Email Address
